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11
                             UNITED STATES DISTRICT COURT
12
                      CENTRAL DISTRICT OF CALIFORNIA
13
                                      Case No.: 2:18-cv-10481-FMO-JCx
14     SECURITIES AND EXCHANGE
       COMMISSION,                    JUDGMENT AS TO DEFENDANT
15                 Plaintiff,         BALANCED FINANCIAL, INC.
           vs.
16     ROBERT “LUTE” DAVIS, et al.,
17                      Defendants.
18

19            The Securities and Exchange Commission having filed a First Amended Complaint and

20     Defendant Balanced Financial, Inc. (“Defendant” or “Balanced Financial”) having entered a
21     general appearance; consented to the Court’s jurisdiction over Defendant and the subject matter
22
       of this action; consented to entry of this Judgment without admitting or denying the allegations
23
       of the First Amended Complaint (except as to jurisdiction); waived findings of fact and
24
       conclusions of law; and waived any right to appeal from this Judgment:
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                                                        I.
 1

 2                                 PERMANENT INJUNCTIVE RELIEF

 3
                                                        A.
 4
                          Section 5 of the Securities Act of 1933 (“Securities Act”)
 5

 6            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
 7     permanently restrained and enjoined from violating Section 5 of the Securities Act [15 U.S.C. §
 8
       77e] by, directly or indirectly, in the absence of any applicable exemption:
 9
              (a)     Unless a registration statement is in effect as to a security, making use of any
10
                      means or instruments of transportation or communication in interstate commerce
11

12                    or of the mails to sell such security through the use or medium of any prospectus

13                    or otherwise;

14            (b)     Unless a registration statement is in effect as to a security, carrying or causing to
15
                      be carried through the mails or in interstate commerce, by any means or
16
                      instruments of transportation, any such security for the purpose of sale or for
17
                      delivery after sale; or
18
              (c)     Making use of any means or instruments of transportation or communication in
19

20                    interstate commerce or of the mails to offer to sell or offer to buy through the use

21                    or medium of any prospectus or otherwise any security, unless a registration
22                    statement has been filed with the Commission as to such security, or while the
23
                      registration statement is the subject of a refusal order or stop order or (prior to the
24
                      effective date of the registration statement) any public proceeding or examination
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                      under Section 8 of the Securities Act [15 U.S.C. § 77h].
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              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
 1

 2     Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

 3     receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

 4     agents, servants, employees, and attorneys; and (b) other persons in active concert or
 5     participation with Defendant or with anyone described in (a).
 6
                                                       B.
 7
                 Section 15(a)(1) of the Securities Exchange Act of 1934 (“Exchange Act”)
 8

 9
              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is
10
       permanently restrained and enjoined from violating, directly or indirectly, Section 15(a)(1) of the
11
       Exchange Act [15 U.S.C. § 78o(a)(1)] by making use of any means or instrumentality of
12

13     interstate commerce or of the mails and engaging in the business of effecting transactions in

14     securities for the accounts of others, or inducing or effecting the purchase and sale of securities,

15     while not registered with the Commission in accordance with the provisions of Section 15(b) of
16
       the Exchange Act, or while not associated with a broker-dealer that was so registered.
17
              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
18
       Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
19
       receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,
20

21     agents, servants, employees, and attorneys; and (b) other persons in active concert or

22     participation with Defendant or with anyone described in (a).
23     //
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       //
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                                                      II.
 1

 2             DISGORGEMENT, PREJUDGMENT INTEREST AND CIVIL PENALTY
 3

 4            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the Court shall

 5     determine whether it is appropriate to order disgorgement of ill-gotten gains and/or a civil

 6     penalty pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3)
 7     of the Exchange Act [15 U.S.C. § 78u(d)(3)] and, if so, the amount(s) of the disgorgement and/or
 8
       civil penalty. If disgorgement is ordered, Defendant shall pay prejudgment interest thereon,
 9
       calculated from November 1, 2017, based on the rate of interest used by the Internal Revenue
10
       Service for the underpayment of federal income tax as set forth in 26 U.S.C. § 6621(a)(2). In
11

12     connection with the Commission’s motion for disgorgement and/or civil penalties, and at any

13     hearing held on such a motion: (a) Defendant will be precluded from arguing that it did not

14     violate the federal securities laws as alleged in the First Amended Complaint; (b) Defendant may
15
       not challenge the validity of the Consent or this Judgment; (c) solely for the purposes of such
16
       motion, the allegations of the First Amended Complaint shall be accepted as and deemed true by
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       the Court; and (d) the Court may determine the issues raised in the motion on the basis of
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       affidavits, declarations, excerpts of sworn deposition or investigative testimony, and
19

20     documentary evidence, without regard to the standards for summary judgment contained in Rule

21     56(c) of the Federal Rules of Civil Procedure. In connection with the Commission’s motion for
22     disgorgement and/or civil penalties, the parties may take discovery, including discovery from
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       appropriate non-parties.
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       //
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27     //

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 1

 2                                                     III.

 3                                   INCORPORATION OF CONSENT

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              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is
 5

 6     incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

 7     shall comply with all of the undertakings and agreements set forth therein.

 8                                                     IV.
 9
                                     RETENTION OF JURISDICTION
10

11            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall
12
       retain jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.
13
                                                        V.
14
                                       RULE 54(b) CERTIFICATION
15

16            There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

17     Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.

18

19
       Dated: January 10, 2020
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21                                                   ___________/s/_________________________
                                                     FERNANDO M. OLGUIN
22                                                   UNITED STATES DISTRICT JUDGE
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